                                                                                ORDER:
                                                                        The motion is GRANTED.


                                                      ______________________
      IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE DISTRICT     OF
                                                         Alistair E. Newbern
                                TENNESSEE               U.S. Magistrate Judge
John Doe,

              Plaintiff,
V.                                                          Case No 3:22CV56
State of Tennessee;
Hon. Suzanne Lockert-Mash,
In her official capacity as Chancellor of the Dickson County Chancery Court; and

Corrine Nichole Oliver,
Defendants.

                              Motion to File via CM/ECF System

Plaintiff John Doe MOVES THE COURT for an order granting him permission to file, receive
service, and serve parties so servable via the CM/ECF system.


Respectfully submitted,                                    r
August 4, 2022

                                                    John Doe, Pro se
John Doe
c/o Current Resident
103 Cypress Ct
White House, TN 37188
johndoeplaintiff@gmail .com
                                     Certificate of Service
I certify that on August 4, 2022 I served this document on Corrine Oliver via USPS first class
mail addressed to Corrine Oliver, 4158 Hwy 96, Burns TN 37029 and upon the State of
Tennessee and Hon. Suzanne Lockert Mash (in an official capacity) addressed to Tennessee
Attorney General and Reporter, PO Box 20207, Nashville, TN 37202-0207.




                                                    John Doe, Pro se




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